










					 










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00142-CR

____________


ANDREW STILES, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 10th District Court

Galveston County, Texas

Trial Court Cause No. 01CR1323






O P I N I O N (1)

	Appellant pleaded guilty to assault on a public servant, and, in accordance
with a plea bargain agreement with the State, was sentenced to nine years
confinement.  Appellant filed a timely notice of appeal.  We dismiss the appeal for
lack of jurisdiction.

	Appellant filed a general notice of appeal that did not comply with the
requirements of Rule 25.2(b)(3) of the Texas Rules of Appellate Procedure in that it
did not state that the appeal was for a jurisdictional defect, that the substance of the
appeal was raised by written motion and ruled on before trial, or that the trial court
granted permission to appeal.  See Tex. R. App. P. 25.2(b)(3).  Appellant may not now
file an amended notice of appeal to correct jurisdictional defects.  State v. Riewe, 13
S.W.3d 408, 413-14 (Tex. Crim. App. 2000).

	The Court of Criminal Appeals has held that an appellate court is without
jurisdiction in felony cases such as the present one in which: (1) the defendant
entered a plea of guilty or no contest based on a plea bargain agreement; (2) the trial
court followed the agreement in assessing punishment; and (3) a general notice of
appeal was filed.  See White v. State, 61 S.W.3d 424, 429 (Tex. Crim. App. 2001);
Cooper v. State, 45 S.W.3d 77, 83 (Tex. Crim. App. 2001). 

	Accordingly, we dismiss the appeal for lack of jurisdiction.

PER CURIAM


Panel consists of Justices Mirabal, Hedges, and Jennings.

Do not publish.   Tex. R. App. P. 47.
1.    	Hon. Wayne Mallia presided.


